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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 DAVID A. BARRY,
                                                         Case No. 1:21-cv-06115
           Plaintiff,

 v.

 FRONTLINE ASSET STRATEGIES, LLC,

           Defendant.

                                             COMPLAINT

       NOW COMES Plaintiff, DAVID A. BARRY, by and through his undersigned counsel,

complaining as to the conduct of Defendant, FRONTLINE ASSET STRATEGIES, LLC, as

follows:

                                     NATURE OF THE ACTION

       1.          This action seeks redress for Defendant’s violations of the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                    JURISDICTION AND VENUE

       2.          This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

       3.          Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                               PARTIES
       4.          DAVID A. BARRY (“Plaintiff”) is a natural person, over 18-years-of-age, who at

all times relevant resided in Burbank, Illinois.

       5.          Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       6.          FRONTLINE ASSET STRATEGIES, LLC (“Defendant”) maintains a principal

place of business at 2700 Snelling Avenue North, Suite 250, Roseville, Minnesota 55113.



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           7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) because the

principal purpose of Defendant’s business is the collection of debt owed to others.

                                     FACTUAL ALLEGATIONS
           8.      At some point in time, Plaintiff utilized T-Mobile for his cellular telephone

services.

           9.      Plaintiff eventually cancelled his services with T-Mobile and upon cancelling;

Plaintiff verified that he had a zero balance on the account.

           10.     Sometime thereafter, T-Mobile alleged that Plaintiff owed an unpaid balance of

$60.10 (“subject debt”).

           11.     The subject debt was subsequently placed with Defendant for collection.

           12.     On September 29, 2021, Plaintiff received a telephone call from Defendant.

           13.     Defendant informed Plaintiff that they were seeking to collect on the subject debt.

           14.     The September 29, 2021 phone call with Defendant was the first communication

between Plaintiff and Defendant.

           15.     Defendant placed further telephone calls to Plaintiff on October 14, 2021 and

November 2, 2021.

           16.     During the November 2, 2021 phone call, Defendant verified Plaintiff’s address.

Plaintiff advised Defendant that he has not received any communication via mail. Defendant then

advised that Plaintiff could review the account online.

           17.     After the phone call, Plaintiff attempted to access Defendant’s website to view the

information concerning the subject debt. Plaintiff accessed Defendant’s website and was met by a

prompt requesting the account number in order to view the online account1. Plaintiff never received



1
    https://www.payfrontline.com/

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any written communication from Defendant containing the account number and therefore could

not access his account online.

       18.     Thereafter, Plaintiff placed a call to Defendant on November 2, 2021. During this

phone call, Plaintiff requested that all communication be sent through mail and Plaintiff verified

his address again. Furthermore, Plaintiff advised Defendant that he does not owe this subject debt.

       19.     To date, Plaintiff has not received any written correspondence from Defendant

regarding the subject debt.

       20.     As a result of Defendant’s failure to provide Plaintiff with information regarding

the subject debt, Plaintiff was deprived of critical information required by the FDCPA.

                                     CLAIMS FOR RELIEF

                                         COUNT I:
                 Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)

       21.     All Paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

                                 Violation(s) of 15 U.S.C. § 1692g

       22.     Section 1692g(a) provides:

       (a) Within five days after the initial communication with a consumer in
       connection with the collection of any debt, a debt collector shall, unless the
       following information is contained in the initial communication or the consumer
       has paid the debt, send the consumer a written notice containing –

               (1)     the amount of the debt;

               (2)     the name of the creditor to whom the debt is owed;

               (3)     a statement that unless the consumer, within thirty days after receipt
                       of the notice, disputes the validity of the debt, or any portion thereof,
                       the debt will be assumed to be valid by the debt collector;




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               (4)    a statement that if the consumer notifies the debt collector in writing
                      within the thirty-day period that the debt or any portion thereof, is
                      disputed, the debt collector will obtain verification of the debt or a
                      copy of a judgment against the consumer and a copy of such
                      verification or judgment against the consumer and a copy of such
                      verification or judgment will be mailed to the consumer by the debt
                      collector; and

               (5)    a statement that, upon the consumer’s written request within the
                      thirty-day period, the debt collector will provide the consumer with
                      the name and address of the original creditor, if different from the
                      current creditor.

               (emphasis added).

       23.     Section 1692g of the FDCPA requires debt collectors to make certain disclosures

to consumers, including a consumer’s right to dispute the validity of a debt.

       24.     The required disclosures are commonly referred to as the “validation notice.”

       25.     Defendant violated §1692g by failing to send Plaintiff a validation notice within

five days of its initial communication with Plaintiff on September 29, 2021.

       26.     Accordingly, Defendant failed to provide Plaintiff with critical information

required by the FDCPA.

       WHEREFORE, Plaintiff, DAVID A. BARRY requests the following relief:

       A.      a finding that Defendant violated 15 U.S.C. § 1692g(a);

       B.      an award of any actual damages sustained by Plaintiff as a result of Defendant’s

               violation(s);

       C.      an award of such additional damages, as the Court may allow, but not exceeding

               $1,000.00;

       D.      an award of attorney’s fees and costs; and

       E.      an award of such other relief as this Court deems just and proper.


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                               DEMAND FOR JURY TRIAL

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.


Dated: November 16, 2021                            Respectfully submitted,

                                                    DAVID A. BARRY

                                                    By: /s/ Marwan R. Daher

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